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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,                      :       CASE NO.      2:22 CR 00170

               Plaintiff,                      :

               v.                              :       JUDGE MICHAEL H. WATSON

SAMUEL REDEA GEBRE,
                                               :

               Defendant.                      :


                    SENTENCING MEMORANDUM OF THE UNITED STATES

       Plaintiff United States of America, by and through its counsel of record, the United States

Attorney's Office for the Southern District of Ohio, hereby files its position concerning the

sentencing of Defendant Samuel Gebre. This sentencing position is based upon the attached

memorandum of points and authorities, the Presentence Investigation Report (“PSR”) in this case,

and any further evidence or argument as may be presented at any sentencing hearing on this matter.

                                                       Respectfully submitted,


                                                       KENNETH L. PARKER
                                                       United States Attorney


                                                       s/Elizabeth A. Geraghty
                                                       ELIZABETH A. GERAGHTY (0072275)
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                                           MEMORANDUM

I.       BACKGROUND

         On September 8, 2022, the United States Attorney’s Office filed a one-count information

against the defendant Samuel Redea Gebre (“Gebre”) charging him with Possess with Intent to

Distribute Methamphetamine, in violation of 21 United States Code, Sections 841(a)(1) and

(b)(1)(A)(viii).

         On November 2, 2022, pursuant to a Rule 11(c)(1)(A) plea agreement, Gebre entered a

plea of guilty to Count 1.

         As set forth in the PSR, the Probation Department calculated a net offense level of 39 and

a criminal history category of V resulting in an advisory guideline range of 360 months to life

imprisonment. There are no objections to the PSR. The United States would submit that the

probation officer properly calculated the guidelines.

         With this memorandum, the United States respectfully requests this Court to impose a

sentence within the guideline range.

II.      SENTENCING FACTORS

         The Supreme Court has declared: "As a matter of administration and to secure nationwide

consistency, the Guidelines should be the starting point and the initial benchmark." Gall v. United

States, 128 S. Ct. 586, 596 (2007). The Sentencing Guidelines remain an indispensable resource

for assuring appropriate and uniform punishment for federal criminal offenses. This court must

also consider all of the sentencing considerations set forth in Section 3553(a). Those factors

include:

         (1)       the nature and circumstances of the offense and the history and characteristics of
                   the defendant;

         (2)       the need for the sentence imposed

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               (A)    to reflect the seriousness of the offense, to promote respect for the law,
                      and to provide just punishment for the offense;
               (B)    to afford adequate deterrence to criminal conduct;
               (C)    to protect the public from further crimes of the defendant; and
               (D)    the need to provide the defendant with educational or vocational training,
                      medical care, or other correctional treatment in the most effective manner;

        (3)    the kinds of sentences available;

        (4)    the kinds of sentences and the sentencing range established for the applicable
               category of offenses committed by the applicable category of defendant as set forth
               in the guidelines;

        (5)    any pertinent policy statements;

        (6)    the need to avoid unwarranted sentence disparities among defendants with similar
               records who have been found guilty of similar conduct; and

        (7)    the need to provide restitution to any victims of the offense.


A.      Nature and Circumstances of Offense

        The PSR accurately sets forth the offense conduct that occurred in April 2020, taking

place in the Southern District of Ohio. While Gebre was being held in the Franklin County

Corrections Center, he was instructing his girlfriend to locate methamphetamine that was stored

at their residence and meet with unknown persons to distribute the methamphetamine. (PSR,

¶¶ 11-16). A search warrant was obtained for the residence and executed on April 17, 22 and

23, 2020. DEA agents recovered a hydraulic press, numerous firearms and approximately 21.2

grams of methamphetamine with 100% purity, approximately 348.3 grams of methamphetamine

with 100% purity, approximately 1,492.5 grams of methamphetamine with 96% purity and

approximately 1.078 grams of fentanyl. (PSR, ¶¶ 17-19).




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B.      History and Character of Defendant

        As to the history and character of the defendant, the United States relies on the information

learned during the course of the investigation, and facts contained in the PSR. Gebre is currently

35 years of age and was born in Sudan. His family immigrated to the United States when he was

five years old, and he was raised in Columbus. (PSR, ¶72). Gebre has a lengthy criminal history

starting at the age of eighteen and was first incarcerated at age 27. Gebre was also placed on

court ordered supervision numerous times with no avail. (PSR, ¶44-62).

        Gebre has been using marijuana since the age of 15 and participated in substance abuse

treatment. As seen by the multiple driving while under the influence convictions, Gebre’s ongoing

abuse of alcohol has been plaguing him since the age of 23. (PSR, ¶¶ 49,88).

        According to the PSR, Gebre was a student at the Columbus City Schools and graduated

from Independence High School in 2006. He has also completed several courses at Columbus

State Community College. (PSR, ¶ 91).

C.      Need for Sentence Imposed

        The crime to which Gebre pled guilty is very serious – in particular because of the type and

amount of the drugs involved. By engaging in this activity while incarcerated on numerous

occasions, the volume of the drugs involved, and the presence of firearms is disconcerting to the

government. The fact that Gebre was so bold as to orchestrate his DTO from inside the Franklin

County jail while on recorded calls makes this case especially egregious.

        Given the circumstances of this case, a term of imprisonment of 360 months, which falls

within the range calculated by probation is necessary to adequately address the 3553(a) factors. A

term of imprisonment will certainly promote respect for the law. The sentence itself will provide

deterrence specifically to Gebre and generally to others knowledgeable of the facts. Further, the


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defendant will be able to receive treatment while incarcerated at a Bureau of Prisons facility.

D.      Guidelines Are Reasonable and Deserve Appropriate Consideration

        As calculated in the PSR, the guidelines provide for an advisory range of 360 months to

life based upon a base offense level of 39 with a criminal history category V, as to Count 1. As

such, the guidelines accurately capture the circumstances of the conduct. The United States

submits that a sentence of 360 months, which is at the bottom of the range accomplishes the goal

of avoiding unwarranted sentencing disparities and adequately punishes the offender while

protecting society from future crimes by the defendant.

                       IV.    CONCLUSION

        Accordingly, the United States respectfully requests this Court to impose a sentence of 360

months, to be followed by a term of supervised release.



                                                     Respectfully submitted,

                                                     KENNETH L. PARKER
                                                     United States Attorney


                                                     s/Elizabeth A. Geraghty
                                                     ELIZABETH A. GERAGHTY (0072275)
                                                     S. COURTER SHIMEALL (0090514)
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                            CERTIFICATE OF SERVICE

   I hereby certify that a copy of the foregoing Sentencing Memorandum was served this 21st

    day of March 2023, electronically on counsel for Defendant.


                                               s/Elizabeth A. Geraghty
                                               ELIZABETH A. GERAGHTY (0072275)
                                               Assistant United States Attorney




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